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                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                                Eastern Division

Adana R. Finch
                           Plaintiff,
v.                                                Case No.: 1:14−cv−07816
                                                  Honorable John Robert Blakey
Real Page Inc.
                           Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, March 20, 2015:


        MINUTE entry before the Honorable John Robert Blakey: Pursuant to plaintiff's
notice of dismissal [23], this case is hereby dismissed with prejudice and without costs.
The 4/13/15 status hearing date is stricken. Civil case terminated. Mailed notice(gel, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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